
Peck, J.
delivered the opinion of the court.
Amongst other things, the court charged the jury that the statute of limitations had nothing to do with the question for them to try, that it was a question of boundary; and as the plaintiff claimed under the younger entry, calling for the defendant’s line, the defendants could not be in possession under their grant, if the jury believed the land in dispute was in the plaintiff’s grant.
The proof of possession by the defendants (below) of the land in dispute, for moro than seven years before bringing _the action of ejectment, is clear and unquestioned; nor is there any thing shown in this record winch makes a case, that, under the act of 1819, will save the *502bar. The consideration, therefore, of the statute of limitations should not have been taken from the jury.
On the evidence, in the case louching the question of boundary, we forbear to say any thing, leaving that subject open, to be considered of on another trial, uninfluenced by any opinions we may entertain on that point.
Judgment reversed.
